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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-04405-RGK-MARx                                         Date        November 8, 2021
 Title             Paul Snitko et al v. United States of America, et al.




 Present: The Honorable              R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                Joseph Remigio                              Sheri Kleeger                             N/A
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Robert Frommer                                          Victor Rodgers
 Proceedings:                 SCHEDULING CONFERENCE

        Case called. Court and counsel confer. The Scheduling Conference is held and the Court sets
the following dates:

         Court Trial:                                      July 26, 2022 at 9:00 a.m.
         Opening Brief:                                    June 21, 2022
         Opposition Brief:                                 July 12, 2022
         Reply Brief:                                      July 19, 2022

         The parties shall advise the Court should any further dates need to be set.

         IT IS SO ORDERED.
                                                                                                     :      02
                                                                Initials of Preparer    jre




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